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3 .'04cr1 0-008/MCR - CHARME A USTIN

UN|TED STATES DlSTRlCT COURT
NORTHERN DlSTRlCT OF FLOR|DA
PENSACOLA DlV|SlON

UN|TED STATES OF AMER|CA
-vs- Case # 3:04cr10-008/MCR

CHARME AUST|N
USM # 63510-004

Defendant’s Attorney:

Kenneth R. Rid|ehoover (Appointed)
900 North Pa|afox Street

Pensaco|a, F|orida 32591

 

JUDGMENT lN A CR|M|NAL CASE

The defendant pled guilty to Count 1 of the Superseding |ndictment on August 30, 2004.
According|y, |T |S ORDERED that the defendant is adjudged guilty of such count(s) which
involve(s) the following offense(s):

 

T|TLE/SECT|ON NATURE OF DATE OFFENSE
NUMBER OFFENSE CONCLUDED COUNT
18 U.S.C. § 371 Conspiracy to Commit Mail Fraud, Wire September 21, 2001 One

Fraud, and interstate Transportation of
Money Taken by Fraud

The defendant is sentenced as provided in the following pages of thisjudgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guide|ines promulgated by the U.S. Sentencing
Commission.

lT lS FURTHER ORDERED that the defendant shall notify the United States attorney for this

district within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid.

Date of imposition of Sentence:

 

 

May 6, 2005
M CASEY ROD?`R ;/‘o)
UN|TED STATE lDSSTRlC% JUDGE

ZUu:i*irti" is FH L,; w
0 Date Signed: May [("' ,2005

Fll.__f:`!'i

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|MPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 15 months.

The Court recommends to the Bureau of Prisons: Designation to a Federal Prison Camp near the
Southern District of Ohio.

The defendant shall surrender to either the United States Marshal for this district or to the institution
designated by the Bureau of Prisons on July 6, 2005 at 12:00 noon.

 

 

 

 

 

 

 

RETU RN
l have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of thisjudgment.
UN|TED STATES l\/IARSHAL
By:

 

Deputy U.S. Marshal

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SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term
of 3 years.

The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

The defendant shall not commit another federa|, state, or local crime and shall not possess
a firearm, destructive device, or any other dangerous weapon.

The defendant shall not unlawfully possess a controlled substance. The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug
test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

STANDARD COND|T|ONS OF SUPERV|S|ON

The defendant shall comply with the following standard conditions that have been
adopted by this court.

1. The defendant shall not leave the judicial district without the permission of the court or probation
officer;
2. The defendant shall report to the probation officer and shall submit a truthful and complete written

report within the first five days of each month;

3. The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
of the probation officer;

4. The defendant shall support his or her dependents and meet other family responsibilities;

5. The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
schooling, training, or other acceptable reasons;

6. The defendant shall notify the probation officer at least 10 days prior to any change in residence or
employment;
7. The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any controlled substance or any paraphernalia related to any controlled
substances, except as prescribed by a physician;

8. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

9. The defendant shall not associate with any persons engaged in criminal activity and shall not
associate with any person convicted of a felony unless granted permission to do so by the probation
officer;

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10.

11.

12.

13.

14.

The defendant shall permit a probation officer to visit him or her at anytime at home or elsewhere and
shall permit confiscation of any contraband observed in plain view of the probation officer;

The defendant shall notify the probation officer within 72 hours of being arrested or questioned by
a law enforcement officer;

The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court; and

As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervision that the
defendant pay any such fine or restitution in accordance with the Schedule of Payments set forth in
the Criminal Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

The defendant shall pay any unpaid restitution balance during herterm of supervised release at a rate
of not less than $200 per month. Payments shall commence three months after the defendant’s
release from imprisonment This condition is subject to modification based upon the Court’s findings
regarding the amount of restitution owed.

As deemed necessary by the probation officer, the defendant shall be required to participate in a
mental health treatment program.

The defendant shall provide the probation officer with access to any requested financial information.
She shall report the source and amount of personal and/or business income and financial assets to
the supervising probation officer as directed.

The defendant shall not incur new credit charges or open additional lines of credit without the
approval of the probation officer unless the defendant has satisfied her restitution obligation

The defendant shall not transfer or dispose of any asset, or her interest in any asset, without the prior
approval of the probation officer unless the defendant has satisfied her restitution obligation.

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Upon a finding of a violation of probation or supervised release, l understand the Court

may (1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions
of supervision.

These conditions have been read to me. l fully understand the conditions and have
been provided a copy of them.

 

Defendant Date

 

U.S. Probation Officer/Designated Witness Date

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CR|M|NAL MONETARY PENALT|ES

All criminal monetary penalty payments, except those payments made through the
Bureau of Prisons’ inmate Financial Responsibility Program, are to be made to the Clerk, U.S.
District Court, unless otherwise directed by the Court. Payments shall be made payable to the
Clerk, U.S. District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-
7717. Payments can be made in the form of cash if paid in person.

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall pay
interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full
before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the
payment options in the Schedule of Payments may be subject to penalties for default and
delinquency pursuant to 18 U.S.C. § 3612(g).

SUMMARY
Special
Monetag( Assessment Fine Restitution
$100 Waived Reserved Ruling for 90 Days

SPEC|AL MONETARY ASSESSMENT
A special monetary assessment of $100 ls imposed.
No fine imposed.

The determination of restitution is deferred. An Amended Judgment will be entered by the
Court within 90 days. The U.S. Attorneys Office is directed to provide the necessary
information to the Court.

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SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) special monetary assessment; (2) non-
federal victim restitution; (3) federal victim restitution; (4) fine principal; (5) costs; (6) interest; (7)
penalties in full immediately

Breakdown of fine and other criminal penalties is as follows:
Fine: Waived SMA: $100 Restitution: Deferred Cost of Prosecution: None

The $100 monetary assessment shall be paid immediate|y. Any payments of the monetary
assessment and the fine made while the defendant is incarcerated shall be made through the
Bureau of Prisons’ inmate Financial Responsibility Program. The remaining balance shall be
paid as foilows: |n monthly installments of not less than $200 three months after release from
imprisonment

The defendant must notify the court of any material changes in the defendant’s economic
circumstances, in accordance with 18 U.S.C. §§ 3572(d), 3664(k) and 3664(n). Upon notice of
a change in the defendant’s economic condition, the Court may adjust the installment payment
schedule as the interests of justice require.

Special instructions regarding the payment of criminal monetary penalties pursuant to 18 U.S.C.
§ 3664(f)(3)(A):

Unless the court has expressly ordered otherwise above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of
imprisonment in the event the entire amount of monetary penalties imposed is not paid prior to
the commencement of supervision, the U.S. probation officer shall pursue collection of the
amount due. The defendant will receive credit for ali payments previously made toward any
criminal monetary penalties imposed.

